                              3:19-cr-30067-RM-TSH # 33   Page 1 of 5                                           E-FILED
                                                                                Tuesday, 07 January, 2020 11:43:10 AM
                                                                                          Clerk, U.S. District Court, ILCD
                                           IN THE UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF ILLINOIS
                                                   SPRINGFIELD DIVISION

                        UNITED STATES OF AMERICA,

                              Plaintiff,

                                    v.                                  No.: 19-CR-30067

                        TODD SHEFFLER,
                        WILLIE HEDDEN, and
                        ALEX BANTA

                              Defendant.


                                       DEFENDANT ALEX BANTA’S MOTION
                                   TO CONTINUE THE PRESENTLY SCHEDULED
                                         PRE-TRIAL AND TRIAL DATES

                             Defendant ALEX BANTA, by his attorney Stanley N. Wasser,

                        moves this Court to reschedule the presently scheduled pre-trial and trial

                        dates in this matter on the grounds that this case is in its initial stages;

                        Defendant Banta has not yet received the Government’s disclosures; and

                        Defendant Banta will require a reasonable amount of time to conduct his

                        own investigation of witnesses and other proffered evidence.                       As

                        indicated below, Government’s counsel and co-defendants’ counsel have

                        no objection to this Motion.

                             In further support of this Motion, Defendant Banta states as

                        follows:
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                          1.     Defendant Banta, and the two co-defendants, were indicted

                    on December 5, 2019.       (d/e #1) Defendant Banta, and the two co-

                    defendants, were arraigned and all three released on bond on December

                    6, 2019. See Minute Entry dated December 9, 2019. Defendant Banta

                    remains released on bond without incident.        The co-defendants also

                    remain released on bond.

                          2.    The Court set the following dates:         the final pretrial

                    conference is set for January 24, 2020 and the trial is set for February 4,

                    2020. See Minute Entry dated December 6, 2019.

                          3.    The Indictment in this case level extremely serious charges

                    against Defendant Banta, all arising from an incident at a state

                    correctional center where an inmate died from injuries sustained in that

                    incident: Count I – Conspiracy to Deprive Civil Rights; Count II –

                    Deprivation of Civil Rights; Count 3 – Conspiracy to Engage in Misleading

                    Conduct; Count 9 – Obstruction – Falsification of Document; and Count

                    10 – Obstruction – Misleading Conduct. Counts 4, 5, 6, 7, and 8, directed

                    to the co-defendants make similar serious allegations of obstruction.

                          4.    On December 6, 2019, the Court ordered discovery to

                    commence. See Minute Entry dated December 6, 2019. On December 19,

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                    2019, Government’s counsel forwarded a proposed Protective Agreement

                    to counsel for Defendant Banta for review and signature.

                          5.    At the December 6, 2019 initial appearance, the Court

                    appointed Attorney Howard Feldman for the limited purpose of the initial

                    appearance, arraignment and detention hearing and found that

                    Defendant Banta did not qualify for court appointed counsel.         On

                    December 26, 2019, Defendant Banta engaged the law firm of

                    FeldmanWasser to represent him in this criminal proceeding.     On that

                    same day, Attorney Stanley Wasser left a voice message with

                    Government’s counsel to discuss the proffered Protective Agreement. It

                    was not until January 2, 2020, that Government counsel was able so

                    speak with counsel for Defendant Banta. Counsel for the Government

                    and Defendant Banta are working out the details of that Protective

                    Agreement and expect for it to be in place shortly.

                          6.    Once that Protective Agreement is in place, Defendant Banta

                    and his counsel are expecting to receive the Government’s disclosures.

                    Defendant Banta and his counsel will require time to review the

                    disclosures and to conduct his own investigation of witnesses and other



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                    proffered evidence, as well as conferring with counsel for the co-

                    defendants as all three defendants are presently set to be tried together.

                          7.      There is insufficient time between now and the scheduled

                    final pretrial and trial dates for Defendant Banta’s counsel to take the

                    necessary review and investigation to effectively represent Defendant

                    Banta.

                          8.      Defendant Banta’s counsel has conferred with Government’s

                    counsel and with counsel for the co-defendants and each has represented

                    that they have no objection to continuing the presently set final pretrial

                    and trial dates.

                          Wherefore, Defendant ALEX BANTA prays that this Court enter

                    its order rescheduling the final pre-trial and trial dates to dates at least

                    ninety (90) days hence to permit Defendant BANTA and his counsel to

                    adequately prepare for trial in this cause.

                                                                  ALEX BANTA, Defendant,


                                                                  _/s/Stanley N. Wasser ________
                                                                  Stanley N. Wasser, #2947307
                                                                  FeldmanWasser
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                                            CERTIFICATE OF SERVICE

                              I hereby certify that on January 7, 2020, I electronically filed the
                        foregoing with the Clerk of the Court using the CM/ECF system which
                        will send notification of such filing to the following:

                                   Timothy A Bass           tim.bass@usdoj.gov

                                   Victor B. Yanz          victor.yanz@usdoj.gov

                                   William L Vig            bill@vig-law.com

                                   Mark Wycoff             mark@wycofflaw.com

                                   James Elmore            elmoreandreid@sbcglobal.net


                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non-CM/ECF participants:

                                   Not Applicable




                                                           BY: _/s/Stanley N. Wasser ________
                                                               Stanley N. Wasser, #2947307
                                                               FeldmanWasser
                                                               1307 South Seventh Street
                                                               Springfield, IL 62703
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